532 F.2d 184
    McCurryv.Clerk of the Sixth Judicial District Court, State ofLouisiana*#
    No. 76-1472
    United States Court of Appeals, Fifth Circuit
    5/12/76
    
      1
      W.D.La.
    
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    